            Case 1:16-cr-00809-VM Document 586 Filed 01/22/21 Page 1 of 1
                                                       U.S. Department of Justice

                                                       United States Attorney
                                                       Southern District of New York

                                                                                            1/22/2021
                                                       The Silvio J. Mollo Building
                                                       One Saint Andrew’s Plaza
                                                       New York, New York 10007


                                                       January 22, 2022

   VIA CM/ECF

    The Honorable Victor Marrero
    United States District Judge
    Southern District of New York
    500 Pearl Street
    New York, New York 10007
    Fax: (212) 805-6382

                  Re: United States v. Torres et al., 16 Cr. 809 (VM)

   Dear Judge Marrero:

             The Government writes respectfully seeking a brief extension to file its response to
   defendant Randy Torres’ motion for a new trial pursuant to Federal Rule of Criminal Procedure
   33. (Dkt. No. 577.) The Court previously granted the Government’s request that it be permitted
   to file its response to that motion on or before January 25, 2021. The Government now respectfully
   requests that it be permitted to file its response on or before January 29, 2021.


                                                       Respectfully submitted,

                                                       AUDREY STRAUSS
                                                       United States Attorney

                                      By: _________/s/________________
                                          Jessica Fender
                                          Anden Chow
The request for extension until on or     Jacqueline Kelly
before January 29, 2021 is granted.       Assistant United States Attorneys
                                          Southern District of New York
                                          Tel: (212) 637-2276 / 2348 / 2456

1/22/2021
